
 
 
 
 1
  Amanda Brubaker, in her official capacity as the Records Custodian for the Colorado Department of Human Services, Petitioner  v.  Colorado Sun and Tegna, Inc., d/b/a KUSA-TV/9News, Respondent No. 23SC927Supreme Court of Colorado, En BancAugust 5, 2024

 Court
 of Appeals Case No. 21CA1608

 Petition
 for Writ of Certiorari GRANTED.

 Whether
 the court of appeals erred as a matter of law in concluding
 that section 19-1-307(1)(a), C.R.S. (2023), is ambiguous.

 Whether,
 if the court of appeals correctly concluded that section
 19-1-307(1)(a) is ambiguous, it erred in concluding the
 legislative history and Peck v. McCann, 43 F.4th 116
(10th Cir. 2022), support its interpretation of the statute.

 
